  Case 16-30672          Doc 53     Filed 03/09/18 Entered 03/09/18 15:48:12           Desc Main
                                      Document     Page 1 of 2


                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NORTH DAKOTA

                                                     )   Bankr. Case No. 16-30672
 In re:
                                                     )
                                                     )   Chapter 7
 Vortex Drain Tiling LLC,
                                                     )
                                                     )   APPLICATION FOR APPROVAL OF
                                        Debtor.
                                                     )   EMPLOYMENT OF SPECIAL COUNSEL


          1. Forrest C. Allred is the Trustee in this case.
          2. Applicant believes employment of special counsel is necessary: The Debtor engaged in
certain transactions possibly giving rise to Chapter 5 avoidance actions. There also appear to be
possible collection matters which will need to be pursued.
          3. Matthew R. Burton, and Leonard, O’Brian, Spencer, Gale & Sayre, Ltd, 100 South Fifth
Street, Suite 2500, Minneapolis, MN 55402, are qualified by reason of practice and experience to
render such representation to the Trustee.
          4. Proposed compensation is $400.00 per hour, plus expenses, subject to Court approval.
          5. Said professional has disclosed to the undersigned that he has the following connections
with the Debtor(s), creditors, any other party-in-interest, their respective attorneys and accountants,
the United States Trustee or any person employed in the Office of the United States Trustee: McM,
Inc., is in bankruptcy in case number 17-30061. McM has an interest adverse to this estate, in that
the debtor herein, Vortex Drain Tiling, Inc., is a party to an executory contract with McM, Inc., to-
wit, a land installment contract. Attorney Burton is counsel for the trustee in the McM, Inc.,
matter, and is also counsel to the trustee in another matter related to the McM, Inc., matter, that
being case number 17-30558, Ronald G. McMartin, Jr. There will be no conflict of interest by any
of the services provided in this case. The undersigned Trustee and Attorney Burton have agreed
that Attorney Burton’s representation of the Trustee herein will not extend to any matters involving
either the McM, Inc., matter, or the Ronald G. McMartin, Jr., matter.
          WHEREFORE, applicant prays that the court approve such employment by the Trustee
in accordance with the terms hereinabove set forth.

          DATED this 6th day of March, 2018.

                                                         /s/ Forrest C. Allred
                                                            Forrest C. Allred
Case 16-30672     Doc 53     Filed 03/09/18 Entered 03/09/18 15:48:12            Desc Main
                               Document     Page 2 of 2


                                                    Chapter 7 Trustee
                                                    14 Second Ave SE, Suite 200
                                                    Aberdeen, SD 57401
                                                    Telephone: (605) 225-3933
                                                    Fax: (605) 226-3371
                                                   forrest.allred@gmail.com



                                      VERIFICATION

           I, Matthew R. Burton, the proposed professional named in the foregoing
    application, declare under penalty of perjury that the foregoing is true and correct according
    to the best of my knowledge, information and belief.
           DATED this 6th day of March, 2018.

                                          __________________________
                                          Matthew R. Burton, #210018 (MN)
                                          Leonard, O’Brian, Spencer, Gale & Sayre, Ltd
                                          100 South Fifth Street, Suite 2500\
                                          Minneapolis, MN 55402
                                          612-232-1030
                                          mburton@losgs.com
